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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA

U.S. COMMODITY FUTURES
TRADING COMMISSION,
              Plaintiff,
v.                                     Case No.    09-cv-3332 (MJD/FLN)

TREVOR COOK et al.,
              Defendants,

R.J. ZAYED,
                Receiver.



UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,
              Plaintiff,

v.                                     Case No.    09-cv-3333 (MJD/FLN)

TREVOR G. COOK, et al.,
              Defendants,

R.J. ZAYED,
                Receiver.



UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,
              Plaintiff,

v.                                     Case No.    11-cv-574 (MJD/FLN)

JASON BO-ALAN BECKMAN, et al.,
             Defendants,
R.J. ZAYED,
             Receiver.
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________________________________________________________________________

                                     ORDER

      This cause comes before the Court for consideration of the Receiver’s

Motions to (1) approve the Receiver’s Final Report and Final Interim Accounting;

(2) enter the Fifth Amended Final Claims List; (3) approve the Final Distribution,

and (4) approve the Receiver’s plan to close the Receivership. [Civil No. 09-3332,

Docket No. 1419, Civil No. 09-3333, Docket No. 1508, Civil No. 11-574, Docket

No. 797]

      Having considered these motions and the files, records and proceedings

herein, and being otherwise fully advised on the premises, it is ORDERED AND

ADJUDGED that the Receiver’s Motions are GRANTED. The Court hereby:

      1.    Approves the Receiver’s Final Report and Interim Final Accounting

attached to the Norgard Declaration as Exhibit A;

      2.    Enters the Fifth Amended Final Claims List attached to the Norgard

Declaration as Exhibit B.

      3.    Approves the Receiver’s Final Distribution in the amount of

approximately $400,000.00; and




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      4.        Approves the Receiver’s Closure Plan, including:

                a.    Paying the accrued fees and costs set forth in the co-pending

Fee Petition;

                b.    Establishing a Closure Reserve with the remaining

Receivership funds to pay any final tax obligations associated with the

Receivership and final professional fees and costs associated with closure;

                c.    Making all final tax filings and paying any final tax

obligations associated with the Receivership directly from the Closure Reserve,

without further Order from the Court;

                d.    Maintaining those books and records necessary to support the

tax returns filed by the Receiver for the period required by relevant federal and

state tax laws;

                e.    Disposing of all other documents and other items seized from

the Receivership entities and related to the Receivership;

                f.    Closing the Receiver website, email address, and hotline;

                g.    Undertaking any and all other activities reasonably necessary

to otherwise wind up the affairs of the Receivership;




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             h.     Submitting a Supplemental Final Accounting, Final Fee

Petition, and proposed Final Order for Closure when all activities outlined in this

motion are complete and pending liabilities are finalized;

      5.     Discharges and relieves the Receiver and his agents from any further

duties, obligations, responsibilities, and liabilities pertaining to the Receivership.

      It is further ORDERED AND ADJUDGED that:

      6.     All actions taken by the Receiver and his agents were taken in the

proper administration of the Receivership Estate and the Receiver did not

“conduct business” of the Defendants or Relief Defendants or the Receivership

Estates;

      7.     All persons are enjoined from commencing or prosecuting, without

leave of this Court, any action against the Receiver or his agents in connection

with or arising out of the Receivers’ or his agents’ services to this Court in this

Receivership; and

      8.     The Court retains jurisdiction for the purpose of closing this

Receivership and enforcing the above injunctive relief.

      IT IS SO ORDERED.

Dated: January 16, 2020                       s/ Michael J. Davis
                                              Michael J. Davis
                                              United States District Court

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